USCA4 Appeal: 21-1255           Doc: 74          Filed: 08/08/2023      Pg: 1 of 1


                                                                                     FILED: August 8, 2023

                                       UNITED STATES COURT OF APPEALS
                                           FOR THE FOURTH CIRCUIT

                                                 ___________________

                                                      No. 21-1255
                                                  (1:20-cv-03495-JKB)
                                                 ___________________

        DOMINIC BIANCHI, an individual and resident of Baltimore County; DAVID SNOPE, an
        individual and resident of Baltimore County; MICAH SCHAEFER, an individual and resident
        of Anne Arundel County; FIELD TRADERS LLC, A resident of Anne Arundel County;
        FIREARMS POLICY COALITION, INC.; SECOND AMENDMENT FOUNDATION;
        CITIZENS COMMITTEE FOR THE RIGHT TO KEEP AND BEAR ARMS

                       Plaintiffs - Appellants

        v.

        ANTHONY G. BROWN, in his official capacity as Attorney General of Maryland; COL.
        WOODROW W. JONES, III, in his official capacity as Secretary of State Police of Maryland;
        R. JAY FISHER, in his official capacity as Sheriff of Baltimore County, Maryland; JIM
        FREDERICKS, in his official capacity as Sheriff of Anne Arundel County, Maryland

                       Defendants - Appellees

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        JOHN CUTONILLI

                       Amicus Supporting Appellants

                                                 ___________________

                                                      ORDER
                                                 ___________________

                 The court substitutes Maryland Attorney General Anthony G. Brown for former

        Maryland Attorney General Brian E. Frosh as a party to this proceeding.

                                                       For the Court--By Direction

                                                       /s/ Patricia S. Connor, Clerk
